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Case 1:21-cv Ssoelb 482

Niky Clve\sken ryt, As MV Charge

sso _ z Lu yO. eae
ust AVAL fF litle -2090- 900648
)
j se
Upon returning froma “ day hospital stay 2/13/18-2/17/19.1 receieved my
notification of Termination via FedEx on February 18th. It is stated in my
termiation notice
that ATI can no longer wait for my return therefore my employment with ATT
is terminated as February 14th.
In there rebutal ATT contends that I was fired for an offense of "no show no
call",
So now what was the real reason for my termination? I contend that ATI
discriminated against me and was

ENTIRELY AWARE of my medical condition and disability.

ATI did not Challange the State of Hawaii's Unemployment Insurance Division
Decision.

383-30(2): No Disqualification

Section 383-30 (2) Hawaii. Révised Statutes provides that an individual shall
be disqualified for was

work. The disqualification is

until the individual has subsequent to the week in which the discharge
occurred, been paid wages in covered

employment equal te not less than five times the individual's weekly benefit
amount as determined under

section 383-22 (b).

According to my unemployment approval letter from the state of Hawaii:

"You were employed by Americantours International LLC as a customer liason
from 08/27/18 to 02/14/18. You reported

you were discharged while you were in the hospital as the employer felt you
were not able to perform your job. The -

employer did not provide any additional information. However, the
termination lettér provided states the employer -

could no ‘Longer wait for you to return to work. Based on the available
information, the

re is INSUFFICIENT evidence to

Show that you were discharged for misconduct connected with work. Therefore,
no disqualification is imposed as you

were discharged for reasons other than misconduct connected with work."

(ie Jenna Spain my Direct Supervisor and Lucienne Mack HR director).
I have the evidence to show, text messages and Phone calls that ATI was kept
upto date as to my

medical condition and disability and net once were they unimformed.

Refering to ATI's rebutal that on February 13th ATT employees,
Petra Panfigliglio office manager, Jenna Spain supervisor and Lucienne Mack
HR director "repeatedly

called Ms. Christen but were unable to reach her". And ATT further contends
that on February 13th that

Ms. Christen sent a text message to Ms. Spain stating that her doctor was

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PagelD.483

refering her for more test,

but provided no further information about when she could return to work or
when ATI could expect

a doctors note excusing Ms. Christen's absenses. Again which is it, ATI was
unable to reach me or not?
They go on to say they had no choice but to terminate my employment given
what was numerous no call, no shows

in violation of ATI's policies and without any indication of a definite
return to work date. Having been fired

for reasons other than gross misconduct,numerous no show, no calls and the
fact that they could no longer wait for

my return

I informed ATI on February 12th that I was refered for more test and my
condition had not

improved. At that point their would not have been a definite return to work
date because of pending test.

Having provided conflicting reasons for termination I contend that ATI is
covering up the fact that I was

terminated for a disability having been ENTIRELY AWARE of my medical
condition.

My regular day's off were Thursday and Friday which were February 7th and
8th, 14th and 15th.

I was in the Hospital on the 13th and terminated on the 14th. ATI having
known that a doctors note

forthcoming would not be available until my possible return on the 15th yet
terminated on the 14th.

ATI handbook states that Arbitration is the Exclusive Remedy yet they
refused to mediate.

No offer of FMLA was provided to myself.

Point #1:

I learned I had Type 2 Diabetes on 12/3/18. I informed my office manager,
Petra Panfigliglio on 12/03/18 about

the diabetic condition. I had shown her my lab results from my most recent
doctor visit. I had had prior excused

doctor visit for the issue and was trying to get to the bottom of my
symptoms. I provided my work with all of these

doctors notes. Petra Ponfiglio took a look at my lab results and immediately
declared I had diabetes.

She has a family member who also has diabetes so she said she now recognized
all the symptoms and terminology.

They should still be on the company email server.I sent the lab results to
her in arn email via my ATI work domain as

nikki_christen@americantours.com. I also printed a copy.

From that point forward she required me to get a doctor's note for any
inflammation of my feet and one to return to work
(see attatched texts from Petra Panfiglico & Jenna Spain). Both to which I

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PagelD.484

always complied as evidenced by my paperwork.

She then offered the "REASONABLE ACCOMODATIONS" of putting my foot on a
second chair when I was

at work, which concludes that American Tours International LLC. knew about
my disability.

Point #2:

I concede te falling asleep one time on the job, I can admit to that. I was
asked to sign a waiver of how long I was

asleep to make the adjustment in pay. It seemed fair since ATI took a chance
on me. I was very sleepy from the new medication

Iwas given for my medical condition which was happening to me regularly and
I provided a doctors note every single time

I extremely regret the antibiotics which caused my drowsiness, but to skip
them could have lead to ammputation or death.

This. was the only time I was ever written up. I thought we/ATI had moved
forward from that, but not se fast apparently...

To contend I didn't provide a phone call/text or a doctors note is
ridiculous. I have more paperwork: than ATI does I guess? ,

Every text/email and doctors note is on my hard drive or theirs. I have
printed and saved everything that is from my own

property.

Point #3

I sent a doctors note to Jenna Spain on 2/2/19 which excused me from work
from 2/2/19-2/3/19,

returning 2/4/19

I went back to my doctors on 2/4/19 because my condition had worsened. The
dectors note specified not to

return to work until 2/11/19. I provided that note to Jenna Spain (see
attached), but she did net respond. Again I tried

te contact her on 2/12/19. I had iaryngitis already so I could only whisper.
I worked. in customer service so

without a veice I could not work on the Phones which was the bulk of my
job.She wanted to know more information and I could

not provide that immediately because some of those labs take a little time,
especially in the flu season.

Iwas getting referred to oncology and that was very scary. I had a doctors
note from 2/11/19-2/13/19_

On 2/12/19 Jenna Spain responded "just let me know."

Point #4:

On 2/13/19 I went to Straub Medical Center ER for extreme abdominal pain.
After a battery of tests and several hours they

were going to to admit me, but they did not have any beds available. I was
then transferred to Kaiser Moanalua via ambulance.

I had a great doctor. She said if I had waited 3 more days I would have
died. Ironically, my phone died late 2/13/19 in the ER,

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PagelD.485

but I was admitted te the hospital, in extreme pain,not even have a tiny
sponge of water. It didn't matter anyway because

they had already fired me on 2/14/19, my hospital admission date. I had no
idea of until the day I was able to reach HR on

2/18/19 at which I learned I was terminated.

In conclusion, the fact that ATI contradicts themselves numerous times
throughout, it is a very goed chance that they opperate under different laws

and practices.
Existing case law makes it clear that the offer of Reasonable Accomadation

costitutes knowledge of an employee with a disability.

Fo Men witnesses ‘.

aro Vivo pson “e FOR -HWY-4A98 signi Sean+ on ey
Koole Le INO 523 “A\A- 045 Sor ey Co-Wwerk e-
Sharon Seiler + 210-2N7-OANS herher.
Pool Ou. Laav nq
A\\ MWe vo pwesses loo e Saw Who TX
boon Vncov ae Ais entive ordeah & Woe
yo\\ \x Mok, on me & WY ans * eet
Thay COW Vorch Re = VOY Y of “he vu.
Vek & bos Lin WW choveac, & yep ob.
1 \ Bay pf rem ik
Ke\ yee FO ce - ~s
ye e Wave AWN 1 ques ONS
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Wednesd RPaGelDi4s 62, 2078 -
Nikki (+1 (849) 426-0874 )

Jenna Spain (+1 (310) 722-0496 )

Hi Nikid , Lucienne’s tried calling your

cell and desk several times and she 's Vopd de Fe
not getting through .

Everything ok?

Sunday, Septeraber 16, 2018

Nikki (+1 (949) 426-0874 )

Jenna Spain (+4 (310) 722-0496 )

Hi Nikki, please go ahead and see the

doctor today. You need to take care of »

your health. You can take the day off

or do a half day. Whichever is best for 8 12.50 AN
you. You can bring a doctors note in

tomorrow. No worries. Just get fo

doctor so they can look into it .

Just let me know what you decide to
do in terms of coming in today . Either
way is ok.

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Jenna Spain (+4 (210) 722-0486)

Yes if you are fainting you absolutely
need to get that checked out right
away. pod INS

Go take care of that and let me know
what you plan to do as far as coming in

No worries

Jenna Spain {+1 (310) 722-0496 }

Lo} yeah | hear ya . Go get checked out
and let me know .

Jenna Spain (+1 (310) 722-0496 }

It's ok just keep me posted . Hope they
get it solved for you quickly !

Filed 04/26/21
Nikki (+1 (949) 426-0874 )

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PagelD.487

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a

Nikki (+4 (949) 426-0874 )

Niki (+1 (849) 426-0874 )

Nikki (+1 (949) 426-0874)

Monday, Geptember 17, 2045

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Case 1:21-cv-00065-LEK-KJM Document 7-1 Filed 04/26/21 Page 7 of 69
_ denna Spain (+1 (310) 722-0496) PagelD.488
Hi Nikki’, | hope You're feeling better
today. Vas just wondering if you ec? 50 Alf
planned to come in ? Thanks!

Nikki (+4 (949) 426-0874 )

Jenna Spain (+1 (310) 722-0496 }

Thank you Nikki. it's ok. Let hope they
can gat to the bottom of these issues tO tf 4 AM
he you're experiencing quickly |

Jenna Spain (+1 (310) 722-0495)

Yeah definitely need to see a doctor
and get it straightened out !

Alberto is asking about your hours
Saturday. You clocked in , but didn’t
clock in /out for Junch or at the end of
the day. Could you please let me know
your hours Se | can pass it on to :
Alberto. Same for Sept Sth.

Nikki (+1 (949) 426-0874 j

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PagelD.489

“0 Fs. FO ft

Jenna Spain (+1 (310) 722-0496)

Hi Nikki, thank you. In the future -
please make sure you take a true 30

min tunch away from your desk . - ii. RI Ai
Perhaps log off phones 15 mins before oo
to ensure you don ‘t get wrapped up in

a call

Jenna Spain (+1 (310) 722-0496 )

Yeah you have to take lunch and de

not need to be logged it at every Fi SE bh
momentas we have others working on pee
phones too. Thanks!

Nikki (+1 (949) 426-0874 )

Tuesday, September 18, 2048
Jenna Spain (+1 (310) 722-0496 )

Hi Nikki, are you planning to come in SEEAEEI,
today? | haven't heard from you. ot

Nikki (+4 (949) 426-0874 )

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Case 1:21-cv-00065-LEK-KJM Document 7-1

Jenna Spain (+1 (340) 722-0496 }

Hi Nikki, thank you for getting back to
me. Sorry | didn’t respond sooner . It's
been hectic here today . ['m happy you
were able to make the doctors
appointments. That's great news !

Do you think you ‘Ibe able ta make it
into the office Saturday ? Please just let
me know either way and keep me
posted on haw it's going. !In general,
make sure to let me know atleast an
hour in advance of your shift if you ‘re
not going to make it in for whatever
reason on a day that you ‘re scheduled
so there is no confusion .

| think we have everything covered for
now, but If you need to chat about
anyihing, just let me know !

Thanks!

PagelD.490

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Nikki (+1 (949) 426-0874 )

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PagelD.491

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Wednesday , September 19, 2018

Nikki (+1 (949) 426-0874 )

Jenna Spain (+1 (310) 722-0496)

Hi Nikki, yes ] assumed you wouldn 7?
be in today especially considering it 's
technically your day off . Keep me
posted!!!

| hope the doctors can get to the

bottom of everything for you so you can
get back to feeling like yourself 1 Im
praying you'll be feeling much improved
by Saturday !

Nikki (+1 (049) 426-0874 )

Jenna Spain (+1 (810) 722-0496)

Well your doctors note excuses you
untit tomorrow, which |S your day off . 1057-60 AM
So you're ok until then .

Do you think you could fax me a copy
of the note so | can give it to Alberto in WANT 4
HR?

Hi Nikki, please fax it over to Alberto 's
direct fax at 310-641-1320

Nikki (+1 (949) 426-0874)

Jenna Spain (+1 (310) 722-0496 )
No, there's no rush. Thanks! B10 PM

Thursday, September 20, 2018

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vag
we

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Case 1:21-cv-00065-LEK-KJM
PagelD.492 Nikld (+4 (49) 426-0874 }

Jenna Spain (+1 (310) 722-0496}

No that's interesting !

Jenna Spain (+1 (310) 722-0496 )

Thanks Nikki, wow what a nightrnare . S-RO-OF BE
Let me check with Alberto mete eee ts Bs
Nikki (+1 (949) 426-0874)

ays
+

Saturday, Septemioer 22, 2074
Jenna Spain (+1 (310) 722-0486)

Yes Alberto received your doctors note
so you're all set there .

Nikki (+1 (949) 426-0874)

Jenna Spain (+1 (310) 722-0496 )

Ok sounds good !

Sunday, September 23, 2078
Nikki (+1 (949) 426-0874 )

Jenna Spain (+1 (310) 722-0496 )

Well you can leave early , but the

problem is that tomorrow is a new a oy
week which means you can "t Make up oe
hours for this week . “7°

Tuesday, Octeber 29, 2016

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Case 1:21-cv-00065-LEK-KJM Document 7-1 Filed 04/26/21 Page 12 of 69
PagelD.493 Niki (+1 (949) 426-0874}

Jenna Spain (+1 (810) 722-0496)

Hi Nikki sure you can go to urgent care aac ale
if you need to O92 97 Al

Nikki (+4 (949) 426-0874}

gan)

Werinesday , Ontober 24, 2078

Nikki (+1 (949) 426-0874)

Jenna Spain {+1 (310) 722-0496 )

Hi Nikki, so sorry you 're dealing with

this! Yikes so scary ! I'm so glad you | ek
contacted your doctar in AZ and he oes
told you to go in .

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_ PagelD.494

| hope it clears up quickly

Petra is right , follow doctors orders and

rest athome. Yes, you can make up

time this weekend ifable . Don’tworry 588 8)
about that. Just focus on healing and

keep me posted on how you ‘re doing!

Thursday, Getelber 26, 2018
Jenna Spain (+1 (310) 722-0496 )

Ouch! Is it getting any better ? 140 12

Nikki (+1 (949) 426-0874 )

Jenna Spain (+1 (310) 722-0496)

Thanks Nikki ! I'm hoping it continues to
get better day by day !

Saturday, Qcteher 27, 2018
Jenna Spain (+1 (310) 722-0496 )

Hi Nikki , before caming back into the
office...since staph is contagious ,
could you please get clearance from a
doctor that it's ok to return ?

Nikki (#1 (949) 426-0874 )

Jenna Spain (+1 (310) 722-0496}

Ok thanks Nikki , please send it over
once you have it sa all is cleared for 1
you to retum

Thanks Nikki | Are you feeling any paeny
better? . .

Nikki (+1 (949) 426-0874)

Tuesday, Navernbar 6, 2049

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PagelD.495 Nikid (+4 (949) 426-0874)

Jenna Spain (+1 (310) 722-0496 )

Sure, that would be just fine ! 8.35.51 AM

Wecnesday , November 7, 2018
Jenna Spain (+1 (310) 722-0496 )
Hi Nikki, are you coming in today ?
Petra mentioned you weren ‘tin yet. iii WAN

Were you planning to take some hours
aff foday too ? To make up for Thurs ?

Nikki (+4 (949) 426-0874 )

Jenna Spain (+1 (310) 722-0496 )

Ok perfect thanks !1 kind of thought
that might be the case because you ee
were out all day yesterday instead of SO
today. ; :

But we wanted to make sure you were
ok

I'll let Petra know (152.48 Abi
Nikki (+1 (949) 426-0874 )

Wednesday , November 21, 2018
Nikki (+1 (949) 426-0874 )

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Jenna Spain (+1 (310) 722-0498) PagelD.496

Hi Nikki, yes ofcourse. Goaheadand
clock out early , ,

No worries. Feel better! SA a PM

Thursday, November 22, 2049
Nikki (+1 (949) 426-0874)

Jenna Spain (+4 (310) 722-0496 )

Glad to hear that Nikld | Happy
thanksgiving |!

Friday, December 14, 2018
Nikki (+1 (949) 426-0874}

Jenna Spain (+1 (310) 722-0496 )
Sure! That would be just fine !

Wednesday. danuary 9, 2072

Nikki (44 (949) 426-0874)

Jenna Spain (+1 (310) 722-0496 }

Yikes ! That sounds awful! My lower

back actually went out on Monday

night randomly , so painful! but AST AM
thankfully for me it was better the next

morning.

Rest up and follow doctors orders .
Keep me posted !

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PagelD.497 Nikid (+1 (949) 426-0874 )

Saturday, January 12, 2018

Jenna Spain (+1 (310) 722-0496 )

Hi Nikki, sorry | started to respond and
then never hit send oops ! So glad
you're feeling better! Yes, for Sunday
you are welcome to work a half day if
you like . Thanks!

©
"

sunday, January 13, 2049

Jenna Spain (+1 (310) 722-0496 )

Hi Nikki, ok thanks for letting me know -
it happens! Everyone in my office has
been sick lately . Rest up and feel
better soon! Keep me posted on how
your're daing. :

Get lots of rest

Nikki (+1 (949) 426-0874)

Manday, January 24, 2019

Nikki (+1 (949) 426-0874)

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Case 1:21-cv-00065-LEK-KJM
PagelD.498 nikki (+1 (949) 428-0874)

Jenna Spain (+1 (310) 722-0496)

Yeah I've been there, losing your voice 205 aE PI
sucks a

Tuesday, Janiary 22, 20419
Nikki (41 (949) 426-0874 )

Jenna Spain (+1 (310) 722-0496 )

Hi Nikki, agree with Petra . It's best to

get well before going back inthe office.
Get rest and keep us posted on how oe
you're doing!

Wednesday , January 23, 2019
Nikki (+1 (949) 426-0874 }

3445 04 Bil

Jenna Spain (+1 (310) 722-0496 )

Hi Nikki, oh ne! Strep is no fun. But

Petra's sight it’s very contagious so we oe
would need a doctors note to clear Pe ae
you. Did you get any meds yet ?

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Jenna Spain (+1 (310) 722-0496)

Since you've seen the doc maybe you.
could call and ask ther to fax a note
to the office ?

Jenna Spain (+1 (310) 722-0496)

| know Nikki, I'm sorry you have to go
through all that! If you are cleared to
return and want ta make up hours
tomorrow and/or Friday you ‘re welcome

to.

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PagelD.499 Nikki (+1 (949) 426-0874)

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Nikki (+4 (49) 426-0874)

Thursday, January 24, 2049

Nikki (+1 (949) 426-0874 )

Nikki (+1 (949) 426-0874)

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PagelD.500

, Jenna Spain (+1 (310) 722-0496)

Yeah, strep is very contagious though
so that makes sense . They usually
require a few days for the antibiotics to
kick in before they will clear you. So
hopefully tomorrow he will clear you

Nikki (+1 (949) 426-0874 )

Friday, January 26, 2048
Jenna Spain (+1 (310) 722-0496 }

Hi Nikki , just wondering haw you ‘re
doing and if the doctor had cleared you
to return to work yet ?

Nikid (+4 (949) 426-0874)

(9) ahs

Jenna Spain (+1 (310) 722-0496 )

Ok no worries | Let me know how the ~
appointment goes ! Glad you're feeling
better atleast .

Nikki (+4 (949) 426-0874)

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Jenna Spain (+1 (310) 722-0496 }

Hi Nikki, if you’re not feeling well and
think you should see a doctor , you
should go ahead and do that . Just
keep me posted on how it 's going.
Thanks!

Jenna Spain (+1 (310) 722-0496 )

Thank you Nikki ! | hope your infection
clears up quickly . Keep me posted on
how you're doing!

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PagelD.501

Nikki (+4 (949) 426-0874 )

Sunday. Febriary 3. 2G

Monday, February 4, 2013
Nikki (+1 (949) 426-0874)

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Case 1:21-cv-00065-LEK-KJM Document 7-1 Filed 04/26/21 Page 21 of 69
Jenna Spain (+1 (310) 722-0498) PagelD.502

’
Hi Nikki, thank You for letting me know .
('m sorry to hear about this ! The only
thing you can do is follow doctors
orders and try to rest and heal . Keep
me posted on your status and make
sure to get a note frorn the doctor when
he clears. you to return to work | -

Nikki (+1 (949) 426-0874 )

Jenna Spain (+1 (810) 722-0496}

Hi Nikki, don't worry aboutit. | believe
you and | knaw this is not in your 1 Pane Ads
control.

Just keep roe posted and let me know
how you're daing and when you think yao
you'll be clear to return:

Tuesday, Pearuary 6, 2049
Nikki (+1 (949) 426-0874)

Jenna Spain (+1 (310) 722-0496 }

Hi Nikki, no worries | know you 're sick .
Good luck at the doctors office today [1
hope the doctor has goou news that
this infection is clearing up .

Wednesday, February 6, 2078

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PagelD.503 —witta (+4 (949) 426-0874}

Jenna Spain (+1 (310) 722-0496 }

Hi Nikki ok thanks for letting me know .

- | will pass the note along te HR for their WAS.ay 1M
teh file. Hope you're on the mend atleast !

Nikki (+1 (949) 426-0874 )

fencday, Falscusey 14 201%

Nikki (+1 (949) 426-0874)

Tuesday, February 12, 2019
Nikki (+1 (949) 426-0874)

Jenna Spain (+1 (310) 722-0496)

Hi Nikki, sorry to hear that . What did
the doctor say ?

Nikki (+1 (849) 426-0874)

Jenna Spain (+1 (310) 722-0496 )

An oncologist ? Thatis scary | Did he
give any explanation as to why ?

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PagelD.504 Nikki (+1 (949) 426-0874 )

Neate cine tee

Jenna Spain (+1 (310) 722-0486)

Yeah that is scary , well | just hope
things turn around for you soon |!

Friday, February 16, 2079
Nikki (+1 (949) 426-0874)

Saturcay, February 16, 2019

Monday, February 18,2043
Jenna Spain (+1 (310) 722-0496 )

Hi Nikki, thank you for tetting me know -
lam sorry to hear about this . Please
reach out to Lucienne in HR by phone
as she has been trying to contact you

Nikki (+1 (949) 426-0874 )

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PagelD.505

From: Nikki Christen NLEECHRISTEN@Gi hs
Subject: Re: A possible opportunity
Date: Sep 23, 2019 at 11:24:06 PM
To: jenna_spain@americantours.com

HelloJenna, T aS M0 \- 1 VCO Wera nt
Sanmad LueyvaAno) ei
stoted in ATES rie

f ba Farry a\ eh at be
AT od PENG KEYS PHENE

Hood morning. So hey Im not trying te
bother you but i just thought id ask if you
#1 even got yomprior email, and #2 tou

soe
are ollo ond thescerecn S$ ny \ \°

Vevy sens ern ts 5S J
Sent from my iPhone Want 0 (00 C Yew io,

On Seo 20, 20719, at 12:13 PM, Niki
Christen <nleechristen@amail.com>
wrote:

Hi Jenna!

it's me Nikki. How have you been? I've

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PagelD.506

heard great things have been
happening at ATI in the recent months. |
also learned that you might be looking
to fill my a position in Hawaii that was
similar to-my old one or one that! might
be qualified for? I’d like to know if |
applied would | even be considered?
When | was released in February,
Lucienne and you both said that once |
got better | could possibly apply fora
position if there was one available down
the road. Weil it's down the road and |
haven't had any health problems since -
that week in the hospital back in
February. Life has been very good.

| just thought | would ask you. My TS

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7
Case 1:21-cv-00065-LEK-KJM Document 7-1 Filed 04/26/21
. PagelD.507

thought was, the worst thing she can
say is no. At least if it-was a possibility,
I'd be able to hit the ground running this
time. | really liked working for AT! and I’d
be thrilled to help out in Hawail again if
it's a possibility.

| understand if it’s a no. i have no hard
feelings. | hope all is well with you and

the company.

Sincerely,

Nikki Christen

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vhurAGElLD. 508) «a

Nikki (#1 (949) 426-0874 )

Petra (+4 (808) 387-4411)

ok

BAO-1g Pig

Weunesday, September &, 2048
Nikki (+1 (949) 426-0874 )

Petra (+4 (808) 387-4411)

You are very welcome Nikki . [ want

you to be successful . Did you send

email to Christa regarding ; how to

retrieve bilkomg i CA4a PM

Nikki (+1 (949) 426-0874 )

Petra (+1 (808) 387-4411)

Booking agents email addresses and
where to enter cancellation numbers in

bookings?

Page 1/14

Case 1:21-cv-00065-LEK-KJM Document 7-1 Filed 04/26/21 Page 28 of 69
PagelD.509 Nikki (+1 (949) 426-0874)

Petra (+1 (808) 387-4411)

Good. | will text you when | hVe your ee
paycheck FOGUS Pu

Nikki (+1 (949) 426-0874)

Petra (+4 (808) 387-4411)

All good Nikki . f will
Text you when paycheck is in. Aloha PBe31
Petra /

Thursday, September @, 2018

Petra (+1 (808) 387-4411)

Of course ok Nikki .
Have a good evening Aloha PetrA

Friday, Septernber 7, 2018

Nikki (+4 (949) 426-0874 )

My eenecuy aa

Petra (+1 (608} 387-4471)

Hi Nikki - | have your briefings and
running to hotels. Paycheck is on your ai. es
dask. Aloha Petra Oe

Tour briefings 1936: PM

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PagelD.510

Nikid (+1 (949) 426-0874)

Petra (+1 (808) 387-4411 )

Reality check is a good thing in life. iy 12 PM

Wednesday , September 42,2019
Nikki (+1 (949) 426-0874)

Saturday, September 15, 2018
Nikki (+1 (949) 426-0874 )

(OTB ALA

Sunday, September 16,2018
Nikki (+1 (949) 426-0874)

Werdnesday , October 24, 2018
Nikki (+4 (249) 426-0874)

Case 1:21-cv-00065-LEK-KJM

Petra (+1 (808) 387-4411)

Oh my gosh - please go to the ER
straight away. My building had a water
break yesterday when | Arrived home
and no water since then . The water
should come back on at 10am. | may
come to the office later and work from
home until water back on . Aloha Petra

Petra (+1 (808) 387-4411}

Nikki - please follow the doctors
orders. Your health is first . What is
the diagnosis?

Petra (+1 (808) 387-4411)

Cellulitis or staph infection ?

Petra (+1 (808) 387-4411)

Staph is contagious and you need to
stay home please . Pls inform Jenna

Document 7-1 Filed 04/26/21
PagelD.511 gm aeENRIBg NRRL RNY

12 Ab

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a)

Nikki (+4 (949) 426-0874 )

Nikki (+1 (949) 426-0874 )

Nikki (+1 (949) 426-0874)

Tesiiiveler evel cele

Nikki (+1 (949) 426-0874 )

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Petra (+1 (808) 387-4411) PagelD.512
Please advise Jenna. 7 34/49 AMA

Get well and see you next week

Health first Nikki 738-00 Ab

Get well and take good care of
yourself. Aloha Petra

Thursday, October 26, 2078
Petra (+1 (808) 387-4411)

Sorry to hear Please ensure you go
and seek meciical help again if it does
not get better . Aloha P

Is it getting better ?

Nikki (+7 (G49) 426-0874 )

Petra (+1 (808) 387-4411)

Yes

You need to go back to Straub . Itlooks
worsen

Nikki (+4 (949) 426-0874)

Petra (+1 (808) 387-4411)

Go now B:5017 AM

Nikki (+1 (949) 426-0874 )

Petra (+1 (808) 387-4411)

How is the foot now ? 1:04!

Sugar is the enemy . However body &
mind. You should google as everybody aes Ph
is different.

Detox of soul & body as something

seems to be causing excessive » penssssniisa
inflammation, Think about Number 1 oe
Yourself! ‘ :

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PagelD.513

Niki (+1 (849) 426-0874 }

Friday, October 26, 2018
Nikki (+1 (949) 426-0874)

Saturday, October 27,2018

Petra (+1 (B08) 387-4411)

Hi Nikki - Jenna had informed me
already. Thks for the text and enjoy VES32 AL
your day off. Aloha Peira

Wednesday, November 14, 2018
Petra (+1 (808) 387-4411)

Not worth it OSeyy AM

Tuesday, Nevember 27, 2048
Nikki (+1 (49) 426-0874)

Petra (+1 (808) 387-4411)

Pls get a doctors note

What kind of shot did they give you ? LeBel PN

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PagelD.514 Nikki (+1 (949) 426-0874)

Petra (+4 (808) 387-4411)

it looks like MRSA treatment according
googie info. What did they say . Are he2s Ph
you ek to work or contagious

Petra (+41 (808) 387-4414}

In any case - please send doctors note

before you come back and that you are

okte work. Hope you feel better soon _
“) Aloha Petra ;

Petra (+1 (808) 387-4411)

They had to give you a strong shot to
prevent it from spreading

Saturday, Recember 7.2010

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(4

Case 1:21-cv-00065-LEK-KJM
Petra (+1 (808) 387-4411)

Hi Nikki - how is your foot ?

Petra (+4 (808) 387-4411)

Up early. Hope your foot is better

Petra (+1 (808) 387-4411)
Pls go to the doctor one more time just
to ensure nothing else going on

Go today please

You may need more intense treatment .
Please get ready and go straight away

Petra (+1 (808) 387-4411)

Do not worry. Your health is more
important.

Document 7-1
PagelD.515

17239 AM

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Nikki (+1 (949) 426-0874)

Nikki (41 (949) 426-0974)

Nikki (+1 (949) 426-0874)

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Case 1:21-cv-00065-LEK-KJM
Petra (+1 (808) 387-4411 )

Go to the hospital , emergency room

Ask them to check for flesh eating
bacteria. {tis common in Hawaii

| had a friend who has this and the
sooner you go the better . Do it now !

Petra (+1 (808) 387-4411)

You may need intravenous meds

Petra (+1 (808) 387-4411)

What are they saying . Why is itso
swollen

Petra (+1 (808) 387-4411)
Did you go to the hospital or doctors

on call?

Make an appointment with Kaiser
tomorrow

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PagelD.516

E307 At

Nikki (+1 (949) 426-0874 )

Nikki (+1 (949) 426-0874 )

(el ical euierrcuteecariy
Pe uewehiox suelo i allay a

133-14 PM

Nikki (+1 (949) 426-0874 )

eel

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Nikid (+1 (849) 426-0874 }

PagelD.517

Petra (+1 (808) 387-4411)

Tell them you wNtvto go to the hospital
and get intravenous treatment

Nikki (+1 (949) 426-0874)

Petra (+1 (808) 387-4411)

Ok - but still serious infection . VWhy
did they not give yeu the strang meds 8 (6 PR
straight away

Nikki (1 (949) 426-0874)

Petra (+1 (808) 387-4411)
Kaiser in Hawaii is good . Pls make an

appointment straight away Or go to GIR dg Pet
Kaiser emergency

Nikki (#1 (949) 426-0874)

Monday, Decernber 3, 2048

Nikki (#1 (949) 426-0874 )

Petra (+14 (808) 387-4411)

Kaiser in Hol is very good . You can put
your foot on a 2nd chair (not desk ). 1G) BN
Ajona P

What did she say about your foot ?

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Case 1:21-cv-00065-LEK-KJM Document 7-1 Filed 04/26/21 Page 37 of 69
PagelD.518 sini (41 (949) 426-0875)

Petra (+1 (808) 387-4411)
Never again these idiots at doctors on padeyh

call
Nikki (41 (249) 426-0874)

Petra (+1 (808) 387-4411)

Kaiser is a pro medical center in
Hawaii thatis why | wanted the optical we TE PH
to stay there as well

Yuesday, Oecember 11, 2048

Petra (+1 (808) 387-4411)

What kind of meds ? At
Nikki (+1 (949) 426-0874)

oOrtee manager /

Petra (+1 (808) 387-4411)

Type 2 diabetis ?
Nikki (+1 (949) 426-0874)

they BAC) ES ge
Ww My \salo\ ed Ha Si aloe A

Petra (+1 (808) 387-4411)

Hi Nikki, please ensure to go to the
doctor as we are very concemed .

Aloha Petra
Wednesday, January 9, 2019

Nikki (+1 (949) 426-0874 )

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PagelD.519

Petra (+1 (808) 387-4411 )

Please get well soon . B58 23.4M

Nikki (+4 (949) 426-0874 )

Thursday, danuary 17, 2019

Petra (+1 (808) 387-4411)

Rita and | are great. ; oo
Tomorrow is fine. Aloha P es

if you are sickish please do not came

by as Rita and { do not want to catch Brae
anything. Something is going around . a
All the best P :

Nikki (+1 (949) 426-0874)

Monday, January 24, 2018

Nikki (+1 (849) 426-0874 )

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PagelD.520

Petra (+1 (808) 387-4411)
si

What do you have ?
Nikki (+1 (949) 426-0874)
a

Petra (+1 (808) 387-4411)

Please do not come in and get meds
as| donot wantto get sick . Best 32 4 MY
wishes for speedi recovery —

Nikki (+1 (949) 426-0874 )

Petra (+1 (808) 387-4411 }

When you are sick , please ensure you
disinfect your desk keyboard and
phone as Rita sometimes uses it

Nikki (+1 (949) 426-0874)

Petra (+1 (808) 387-4411)

Pls go to the doctar and get meds and
most of all stay home until not :
contagious. Getwell, Aloha Petra
Tuesday, January 22, 2049
Nikki (+1 (949) 426-0874)

Petra (+1 (808) 387-4411)

How long will you be out !

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Case 1:21-cv-O0065-LEK-KJM Document 7-1
Petra (+1 (808) 387-4411) PagelD.521

You will need a doctors note to come
back to work clearing you since strep
is contagious please and we do not
want to get sick .

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Nikki (+1 (949) 426-0874)

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Cage Vey OqCSPEK-KIM Bpgaay-1 Filed 04/2 yg 294941 bf 69
PagelD.522

i A my ett gt P55 ih, ya
5 Messages

€ Inbox Disposition of E... 4

HiRogelio-

This is so unfortunate. | wish |
could explain even more but email
doesn’t helo much and | believe
you are all working remotely and
very busy? | guess | feel
misunderstood. | had been in
constant communication with my
superiors from the time | went into
the ER, admitted to the intensive
care, then until the time | was
discharged. See my mailed
package or call them..Yes my
phone died that phone was the
last thing on my mind when | was
in intensive care. You have no idea
how much pain | was in. | couldn't
{breathe without extreme

Caspiivarive0eSt KIM HoOOPM-1 Filed 04/Setlih 2 9%4j8 42 df 69
5 6 Mesa Ses

< Inbox Disposition of E... 4
‘abdominal pain. When | finally had
a friend bring me a charger which
was Saturday 2/16/20, but HR
wasn't in the office. Regardless of
that they had already fired me on
2/14/19, the day | entered the
hospital, so it didn’t even matter at
this point. | had let them know |
was in the ER the evening of 2/13
with no definitive return date. As
far as falling asleep at work...|
addressed that in my rebuttal and
admitted to that one time. | was on
new medication due to my new
Diabetes 2 diagnosis. Ool signed
the HR form and | thought things
were moving along fine. To hear
about multiple times is alarming
because | never heard about this.

i] = “_ (A

Case 1:21-cv-00065-LEK-KJM Document 7-1 Filed 04/26/21 Page 43 of 69
PagelD.524 a

all Verizon @ = =——COOOPM (sts DOGO

, / 5 Messages ee

€ Inbox Disposition ofE... =. \“
. @ : 3

lt saddens me because | feel like
EEOC is not representing the
“little guy” here. | don’t know what
else to say Rogelio. | did my best
and worked OT and extra
expenses that | should have
claimed. | don't care about all that
but | do want justice for myself
because | didn't deserve what they
did to me. iPhone

casthVedzoncSex-Kam AbAARM-1 — Filed 04/feMh 25% (8.44 bt 69

5, Pagelb.528.

Sage

< Inbox Disposition of E... 7

From: ROGELIO COLON
eee
pate: October 2 - 2020 at
-50:51 PM HS
tee Nikki Christen
<nchristenl16@yahoo.com>
Subject: Disposition of EEOC
Charge of Discrimination

Ms. Christen,

| After going over the information

submitted by all parties, it will be
my recommendation to the
Director that your case be
closed, as it is unlikely that

further investigation will result in

. _ es Ky

Capek verizenneSPEk-KIM Ma@RdAN-1 Filed 04/aB Yd 25940845 of 69
~ she kaes nae

< Inbox Disposition ofE..  ©§ “

| receiving the letter. Please keep
in mind that if you do not file the
suit within that time frame, you
will forever lose the right to sue
the company related to this
particular matter. Thank you.

Rogelio .A Colon | Senior
Investigator (Bi-lingual

Spanish)
EEOC — Honolulu Local Offic
PJKK Federal Building

| -

300 Ala Moana B'!
Honolulu Hl 96850

|| 808-800-2352 Direct |
808-541-3118 Main |

(Ono FAA OOOMN Pevase a a

il as cy [YF

CasthVendzoneetek-KIm gc@OdAN-1 Filed 04/ap Md 2584018 46 bf 69
_ tice 927
: BB

<! Inbox Disposition of E... V4
| as After going over the information -
| submitted by all parties, it will be
| my recommendation to the
| Director that your case be
'| closed, as it is unlikely that
further investigation will result in
a finding of discrimination. If my
|| Director concurs with my
recommendation, the letter of
dismissal and right-to-sue will be
|| signed, dated, and mailed to your
| home address. Once it Is
|| determined that further
investigation Is unlikely to result
lina violation, we do not continue
investigating and Issue the
referenced letter. Below is an
explanation for my justification.

a A (4

casthVexizoneStex-Kam bAAM-1 Filed 04/46Mlh 25% 5847 bt 69

(aR ID.528
5 Messages

€ Inbox Disposition of E... V4

—

_|a finding of discrimination. If my
| Director concurs with my

recommendation, the letter of
dismissal and _right-to-sue will be
signed, dated, and: mailed to your
home address.,Once it is
determined that further
investigation is unlikely to result
in a violation, we do not continue

|| investigating and Issue the
|| referenced letter. Below is an

explanation for my justification.

As it pertains to whether you
were discharged due to your
disability, there is insufficient

|| evidence to establish a violation.

While you were hospitalized after

a visit to the Emergency Room,

i Qa [4

Coal Merizon0cet ex. KIM 4648&dAM-1.— Filed 04/26ei Toads bf 69

PagelD.529
5 Messaqes

< Back | Disposition of E... Me

oy

spec ages stig ge ss pasa aan

a 4 visit to the Emergency Room,

the evidence provides that the
company tried to reach youbut
was unsuccessful. By your own.”
admission, your phone died.
However, there is also
documentary evidence that theré
were several concerns with your
performance (specifically, falling
asleep while at work). Either way,

| cannot conclude that your

{termination was related to your

disability. Regardless, we will not
be continuing the investigation.

lf you desire to pursue the matter
further, you have the right to’file

i} suit in court within 90 days of ©

receiving the letter. Please keep —

amma

SS Sept

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PagelD.530

MUTUAL AGREEMENT TO ARBITRATE

N ikki Christen (“Employee”) and AmericanTours International,

LLC, and all of its wholly or partly-owned subsidiaries (collectively the “Companies”) (together
the “Parties”) agree as follows:

1. Consideration.

The Parties agree and understand that the mutual promises by Companies and by
Employee to arbitrate their respective differences, rather than litigate them before courts or other
bodies, as well as Employee’s [initial/continued] employment with one or more of the
Companies, provide adequate consideration for this Agreement.

2. Disputes Subject to Arbitration.

A. The Parties agree to arbitrate any dispute, cause of action, claim, or controversy
(“Claim(s)”) arising out of Employee's employment or the termination of Employee’s
employment, with the Companies. Employee agrees to arbitrate all Claims against the
Companies, as well as against any and all of their parents, subsidiaries, and affiliated companies;
employees; owners; officers; directors; agents; customers; accountants; and vendors/contractors.
The scope of this arbitration clause is intended to be as expansive as possible.

B. Claims include, but are not limited to any Claim of wrongful discharge (including
claims of constructive discharge), breach of contract, statutory violation, tortious conduct
(whether intentional, negligent, or otherwise), Claims in which punitive damages or
consequential damages could be awarded, or any other Claim that arose out of, or is in any way
related to, the employment relationship. This agreement includes all Claims which could have
been brought before any government agency or in a court proceeding including, but not limited
to, Claims under Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act,
the California Fair Employment and Housing Act, the Age Discrimination in Employment Act,
the California Labor Code, the California Wage Orders, the Fair Labor Standards Act, or Claims
under any other federal, state or local law (excluding claims for worker’s compensation benefits
to remedy work-related injury or illness).

C. Nothing in this Agreement shall be construed as precluding Employee from filing
a: (1) claim for workers’ compensation or unemployment compensation benefits; and (2) claim
with the Equal Employment Opportunity Commission, California Department of Fair
Employment and Housing or similar fair employment practices agency, or an administrative
charge within the jurisdiction of the National Labor Relations Board; however, Employee may
not recover monetary amounts from any such governmental agency-related claim (e.g., NLRB or
EEOC) and may instead pursue a claim for monetary amounts through arbitration, and any such
administrative claim that cannot be resolved administratively through such an agency shall be
subject to this Agreement. Further, any claim that is non-arbitrable under applicable state or
federal law is not arbitrable under this Agreement. Finally, this Agreement specifically excludes
any and all claims currently pending in state or federal court or before any state or federal
administrative body at the time Employee signs this Agreement. Claims under the California

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Private Attorneys General Act (“PAGA”), and any claim that is non-arbitrable under applicable
state or federal law, are not arbitrable.

D. Arbitrable disputes by the Company are those claims against Employee that are
made within the applicable statute of limitations and that arise out of, or are related to, the
employment relationship.

E. Statutes of limitations, scope of remedies, and substantive law (including any
requirement for prior exhaustion of administrative agency relief) shall be the same as would be
applicable were any action to be brought in court and shall not be limited by the fact that any
dispute is subject to arbitration.

3, Arbitration is the Exclusive Remedy.

Arbitration pursuant to this Agreement shall be the exclusive remedy for resolving any
arbitrable disputes. The Parties mutually waive their right to a trial before a judge or jury in
federal or state court in favor of arbitration under this Agreement. Otherwise, the rights of the
Parties under this Agreement shall be the same as those available to them in a court of competent
jurisdiction. The decision of the arbitrator shall be final and binding on all Parties.

This Agreement shall be governed by the Federal Arbitration Act and/or the Arbitration
Act of the State of California, whichever is more permissive of arbitration in the context of any
given dispute. This Agreement may be enforced and administered by a court of competent
jurisdiction through the filing of a petition to compel arbitration or decide arbitrability; confirm,
vacate or modify an arbitration award; or otherwise pursuant to the Federal Arbitration Act, the
arbitration laws of the State of California, or a combination of the two. The Parties agree that a
coutt, and not the arbitrator, shall decide all issues of arbitrability.

4, Class Action Waiver.

It is the intent of the Parties that any dispute covered by this Agreement will be arbitrated on
an individual basis. Unless prohibited by applicable law, the Parties mutually waive their right to
bring, maintain, participate in, or receive money from, any class, collective, or representative
proceeding. Further, no dispute between Employee and the Company may be brought in arbitration
on behalf of other employees as a class or collective action or other representative proceeding. The
arbitrator may not preside over any form of a class, collective, or representative proceeding.

In the event the foregoing waiver to proceed in arbitration on a class, collective, or
representative basis is found to be unenforceable or contrary to law, then any claim brought on such
a basis must be filed in a court of competent jurisdiction, and such court, and not an arbitrator, shall
be the exclusive forum for such claims.

5, Procedure for Arbitration.
A. Initiation of Arbitration.

Arbitration is initiated by giving written notice of the intention to arbitrate to the other
party. The notice must be given within the applicable statute of limitations. A failure to file the

2
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Case 1:21-cv-00065-LEK-KJM Document 7-1 Filed 04/26/21 Page 51 of 69
PagelD.532

notice within the applicable statute of limitations shall constitute a waiver of the dispute in any
forum,

The notice of intent to arbitrate must contain a description of the dispute, the facts on
which it is based, and the remedy/relief sought. A notice of intent to arbitrate from Employee
shall be submitted to the Companies’ Chief Operating Officer/Operating Partner by hand-
delivery or by registered or certified mail and shall be deemed filed on the date received by the
Companies. A notice of intent to arbitrate from the Companies shall be hand-delivered or sent by
registered or certified mail to Employee at the last known address listed in the Companies’
records and shall be deemed filed on the date received by Employee.

B. Rules of Arbitration.

The Parties agree that, except as provided in this Agreement, the arbitration shall be in
accordance with the JAMS then-current employment mediation/arbitration rules/procedures. The
rules for arbitration of employment disputes pursuant to JAMS can be found at
http://www. jamsadr.com/rules-employment-arbitration/ and are available from the Controller.

Please check this box if you wish the Companies to provide you a copy: UO
Cc. Selecting the Arbitrator.

JAMS rules shall govern the arbitrator selection.

D. Arbitrator’s Fees

To the extent required by applicable law, and only to this extent, the Companies shall pay
all costs uniquely attributable to arbitration, including the administrative fees and costs of the
arbitrator. Each side shall pay that side’s own costs and attorneys’ fees, if any, unless the
arbitrator rules otherwise. If the applicable law affords the prevailing party’s attorneys’ fees and
costs, then the arbitrator shall apply the same standards a court would apply to award such fees
and costs.

E. Scope of Arbitrator’s Authority

The arbitrator shall have the authority to rule on all motions whether made prior to or at
the hearing, including motions for summary judgment or summary adjudication and motions to
dismiss (with respect to any such motions, the party filing the motion may file a reply brief at
their option or as required by the Arbitrator or the applicable rules). The arbitrator shall not have
the authority to amend, modify or delete any provision of this Agreement or the Companies’
policies, unless violative of applicable law.

The arbitrator shall have the authority to award only such remedies as could be awarded

by a court under the applicable substantive law which may include injunctive or other equitable
relief, Prior to the hearing, the arbitrator shall encourage the parties to explore settlement.

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NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The ADA was
amended, effective January 1, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is still defined as (1) a physical or mental impairment that
substantially limits one or more major life activities (actual disability); (2) a record of a substantially limiting
impairment; or (3) being regarded as having a disability. However, these terms are redefined, and it is easier to
be covered under the new law.

If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share this
information with your attorney _and_ suggest that_he or she consult the amended regulations and

appendix, and other ADA related publications, available at
http:// eeoc.gov/laws/ disability regulations.cfm.

“Actual” disability or a “record of” a disability (note: if you are pursuing a failure to accommodate claim
you must meet the standards for either “actual” or “record of” a disability):

» The limitations from the impairment no longer have to be severe or significant for the impairment to
be considered substantially limiting.

>» In addition to activities such as performing manual tasks, walking, seeing, hearing, speaking, breathing,

learning, thinking, concentrating, reading, bending, and communicating (more examples at 29 C.F.R. §

1630.2(i)), “major life activities’ now include the operation of major bodily functions, such as:

functions of the immune system, special sense organs and skin; normal cell growth; and digestive,

genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,

hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an individual organ

within a body system.

Only one major life activity need be substantially limited.

With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating

measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications) are not

considered in determining if the impairment substantially limits a major life activity.

> An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in remission” (e.g.,
cancer) is a disability if it would be substantially limiting when active.

> An impairment may be substantially limiting even though it lasts or is expected to last fewer than six
months.

VV

“Regarded as” coverage:

> An individual can meet the definition of disability if an employment action was taken because of an
actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leave,
termination, exclusion for failure to meet a qualification standard, harassment, or denial of any other term,
condition, or privilege of employment).

> “Regarded as” coverage under the ADAAA no longer requires that an impairment be substantially
limiting, or that the employer perceives the impairment to be substantially limiting.

> The employer has a defense against a “regarded as” claim only when the impairment at issue is objectively
BOTH transitory (lasting or expected to last six months or less) AND minor.

> A person is not able to bring a failure to accommodate claim if the individual is covered only under the
“regarded as” definition of “disability.”

Note: Although the amended ADA states that the definition of disability “shall be construed broadly” and
“should not demand extensive analysis,” some courts require specificity in the complaint explaining how an
impairment substantially limits a major life activity or what facts indicate the challenged employment action
was because of the impairment. Beyond the initial pleading stage, some courts will require specific evidence
to establish disability. For more information, consult the amended regulations and appendix, as well as
explanatory publications, available at http://(www.eeoc.gov/laws/types/disability regulations.cfm.
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EEOC Form 161 (11/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

DISMISSAL AND Notice OF RIGHTS

To: Nikki L. Christen From: Honolulu Local Office

364 Seaside Avenue #610 300 Ala Moana Blvd

Honolulu, Hi 96875 Room 4-257

Honolulu, H! 96850
[| On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.
Rogelio A Colon,

486-2020-00075 investigator (808) 541-3118

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

OO B#OUUUU

Other (briefly state)

- NOTICE OF SUIT RIGHTS -
(See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

s Dirty ‘AL Geiffin be. coca
Raymond J. Griffin Jr. cecccetimunmseresets 40/28/2020
Enclosures(s) Raymond Griffin, Jr., (Date Mallod)
Local Office Director

cc: AMERICAN TOURS INTERNATIONAL
Emma Luevano, Esq.
Mitchell Silberberg & Knupp LLP
2049 Century Park East
18th Floor
Los Angeles, CA 90067
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Enclosure with EEOC
Form 161 (11/16)

INFORMATION RELATED TO FILING SUIT
UNDER THE Laws ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
If you also plan to sue claiming violations of State .aw, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title Vil of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SUIT RIGHTS =-

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to ihe matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you hz ve simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you,

PRIVATE SUITRIGHTS -- qual Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/40 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title Vil, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title Vil, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U_S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months afier our fast action on the case. Therefore, if you file suit and want to review the charge

file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 80 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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AMERICANS WITH DISABILITIES ACT OF 1990, AS AMENDED

Following is the current text of the Americans with Disabilities Act of 1990 (ADA), including changes made
by the ADA Amendments Act of 2008 (P.L. 110-325), which became effective on January 1, 2009. The
ADA was originally enacted in public law format and later rearranged and published in the United States
Code. The United States Code is divided into titles and chapters that classify laws according to their
subject matter. Titles |, Il, Ill, and V of the original law are codified in Title 42, chapter 126, of the United
States Code beginning at section 12101. Title IV of the original law is codified in Title 47, chapter 5, of the
United States Code. Since this codification resulted in changes in the numbering system, the Table of
Contents provides the section numbers of the ADA as originally enacted in brackets after the codified
section numbers and headings.

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Sec. 12102. Definition of disability
As used in this chapter:
(1) Disability. The term "disability" means, with respect to an individual

(A) a physical or mental impairment that substantially limits one or more major life
activities of such individual;

(B) a record of such an impairment; or

(C) being regarded as having such an impairment (as described in paragraph (3)).

2) Major Life Activities

(2) Majo ivi \e
(A) In general. For purposes of paragraph (1), major life activities include, but are not av c ow
limited to, caring for oneself, performing manual tasks, seeing, hearing, eating, sleeping, ~~, S\N

walking, standing, lifting, bending, speaking, breathing, learning, reading, concentrating, _ SS %
thinking, communicating, and working. (NY

(B) Major bodily functions. For purposes of paragraph (1), a major life activity also
includes the operation of a major bodily function, including but not limited to, functions of
the immune system, normal cell growth, digestive, bowel, bladder, neurological, brain,
respiratory, circulatory, endocrine, and reproductive functions.

(3) Regarded as having such an impairment. For purposes of paragraph (1)(C):

(A) An individual meets the requirement of “being regarded as having such an
impairment” if the individual establishes that he or she has been subjected to an action
prohibited under this chapter because of an actual or perceived physical or mental
impairment whether or not the impairment limits or is perceived to limit a major life activity.

(B) Paragraph (1)(C) shall not apply to impairments that are transitory and minor. A
transitory impairment is an impairment with an actual or expected duration of 6 months or
less.

(4) Rules of construction regarding the definition of disability. The definition of “disability” in
paragraph (1) shall be construed in accordance with the following:

(A) The definition of disability in this chapter shall be construed in favor of broad coverage
of individuals under this chapter, to the maximum extent permitted by the terms of this
chapter.

(B) The term “substantially limits” shall be interpreted consistently with the findings and
purposes of the ADA Amendments Act of 2008.

(C) An impairment that substantially limits one major life activity need not limit other major
life activities in order to be considered a disability.

(D) An impairment that is episodic or in remission is a disability if it would substantially
limit a major life activity when active.

(E) (i) The determination of whether an impairment substantially limits a major life activity

shall be made without regard to the ameliorative effects of mitigating measures such
as

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| co

C oh | \ ty \O \ cs (1) medication, medical supplies, equipment, or appliances, low-vision devices

et

ee (which do not include ordinary eyeglasses or contact lenses), prosthetics
including limbs and devices, hearing aids and cochlear implants or other
implantable hearing devices, mobility devices, or oxygen therapy equipment and
supplies;
(Il) use of assistive technology;
(lll) reasonable accommodations or auxiliary aids or services; or
(IV) learned behavioral or adaptive neurological modifications.
(ii) The ameliorative effects of the mitigating measures of ordinary eyeglasses or
contact lenses shall be considered in determining whether an impairment
substantially limits a major life activity.
(iii) As used in this subparagraph

(\) the term “ordinary eyeglasses or contact lenses” means lenses that are
intended to fully correct visual acuity or eliminate refractive error, and

(Il) the term “low-vision devices” means devices that magnify, enhance, or
otherwise augment a visual image.

Sec. 12103. Additional definitions. As used in this chapter
(1) Auxiliary aids and services. The term “auxiliary aids and services’ includes

(A) qualified interpreters or other effective methods of making aurally delivered materials
available to individuals with hearing impairments;

(B) qualified readers, taped texts, or other effective methods of making visually delivered
materials available to individuals with visual impairments;

(C) acquisition or modification of equipment or devices; and
(D) other similar services and actions.
(2) State. The term “State” means each of the several States, the District of Columbia, the
Commonwealth of Puerto Rico, Guam, American Samoa, the Virgin Islands of the United
States, the Trust Territory of the Pacific Islands, and the Commonwealth of the Northern
Mariana Islands.
SUBCHAPTER | - EMPLOYMENT
Sec. 12111. Definitions
As used in this subchapter:

(1) Commission. The term "Commission" means the Equal Employment Opportunity
Commission established by section 2000e-4 of this title.

(2) Covered entity. The term “covered entity" means an employer, employment agency, labor
organization, or joint labor-management committee.

-B.
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(3) Direct threat. The term "direct threat" means a significant risk to the health or safety of
others that cannot be eliminated by reasonable accommodation.

(4) Employee. The term "employee" means an individual employed by an employer. With
respect to employment in a foreign country, such term includes an individual who is a citizen
of the United States.

(5) Employer

(A) In general. The term "employer" means a person engaged in an industry affecting
commerce who has 15 or more employees for each working day in each of 20 or more
calendar weeks in the current or preceding calendar year, and any agent of such person,
except that, for two years following the effective date of this subchapter, an employer
means a person engaged in an industry affecting commerce who has 25 or more
employees for each working day in each of 20 or more calendar weeks in the current or
preceding year, and any agent of such person.

(B) Exceptions. The term “employer' does not include

(i) the United States, a corporation wholly owned by the government of the United
States, or an Indian tribe; or

(ii) a bona fide private membership club (other than a labor organization) that is
exempt from taxation under section 501(c) of title 26.

(6) Illegal use of drugs

(A) In general. The term "illegal use of drugs” means the use of drugs, the possession or
distribution of which is unlawful under the Controlled Substances Act [21 U.S.C. 801 et
seq.]. Such term does not include the use of a drug taken under supervision by a licensed
health care professional, or other uses authorized by the Controlled Substances Act or
other provisions of Federal law.

(B) Drugs. The term "drug" means a controlled substance, as defined in schedules |
through V of section 202 of the Controlled Substances Act [21 U.S.C. 812].

(7) Person, etc. The terms "person", “labor organization", “employment agency", "commerce",
and "industry affecting commerce", shall have the same meaning given such terms in section
20006 of this title.

(8) Qualified individual. The term "qualified individual" means an individual who, with or
without reasonable accommodation, can perform the essential functions of the employment
position that such individual holds or desires. For the purposes of this subchapter,
consideration shall be given to the employer's judgment as to what functions of a job are
essential, and if an employer has prepared a written description before advertising or
interviewing applicants for the job, this description shall be considered evidence of the
essential functions of the job.

(9) Reasonable accommodation. The term “reasonable accommodation" may include

(A) making existing facilities used by employees readily accessible to and usable by
individuals with disabilities; and

(B) job restructuring, part-time or modified work schedules, reassignment to a vacant
position, acquisition or modification of equipment or devices, appropriate adjustment or
modifications of examinations, training materials or policies, the provision of qualified

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readers or interpreters, and other similar accommodations for individuals with disabilities.
(10) Undue hardship

(A) In general. The term “undue hardship" means an action requiring significant difficulty
or expense, when considered in light of the factors set forth in subparagraph (B).

(B) Factors to be considered. In determining whether an accommodation would impose
an undue hardship on a covered entity, factors to be considered include

(i) the nature and cost of the accommodation needed under this chapter,

(ii) the overall financial resources of the facility or facilities involved in the provision of
the reasonable accommodation; the number of persons employed at such facility; the
effect on expenses and resources, or the impact otherwise of such accommodation
upon the operation of the facility;

(iii) the overall financial resources of the covered entity; the overall size of the
business of a covered entity with respect to the number of its employees; the number,
type, and location of its facilities; and

(iv) the type of operation or operations of the covered entity, including the
composition, structure, and functions of the workforce of such entity, the geographic
separateness, administrative, or fiscal relationship of the facility or facilities in
question to the covered entity.

Sec. 12112. Discrimination

(a) General rule. No covered entity shall discriminate against a qualified individual on the basis of
disability in regard to job application procedures, the hiring, advancement, or discharge of
employees, employee compensation, job training, and other terms, conditions, and privileges of
employment.

(b) Construction. As used in subsection (a) of this section, the term “discriminate against a
qualified individual on the basis of disability” includes

(1) limiting, segregating, or classifying a job applicant or employee in a way that adversely
affects the opportunities or status of such applicant or employee because of the disability of
such applicant or employee;

(2) participating in a contractual or other arrangement or relationship that has the effect of
subjecting a covered entity's qualified applicant or employee with a disability to the
discrimination prohibited by this subchapter (such relationship includes a relationship with an
employment or referral agency, labor union, an organization providing fringe benefits to an
employee of the covered entity, or an organization providing training and apprenticeship
programs);

(3) utilizing standards, criteria, or methods of administration
(A) that have the effect of discrimination on the basis of disability;

(B) that perpetuates the discrimination of others who are subject to common
administrative control;

(4) excluding or otherwise denying equal jobs or benefits to a qualified individual because of
the known disability of an individual with whom the qualified individual is known to have a

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relationship or association;

(5) (A) not making reasonable accommodations to te known physical or mental limitations of
an otherwise qualified individual with a disability who is an applicant or employee, unless
such covered entity can demonstrate that the accommodation would impose an undue
hardship on the operation of the business of such covered entity; or

(B) denying employment opportunities to a job applicant or employee who is an otherwise
qualified individual with a disability, if such denial is based on the need of such covered
entity to make reasonable accommodation to the physical or mental impairments of the
employee or applicant,

(6) using qualification standards, employment tests or other selection criteria that screen out
or tend to screen out an individual with a disability or a class of individuals with disabilities
unless the standard, test or other selection criteria, as used by the covered entity, is shown to
be job-related for the position in question and is consistent with business necessity; and -

(7) failing to select and administer tests concerning employment in the most effective manner
to ensure that, when such test is administered to a job applicant or employee who has a
disability that impairs sensory, manual, or speaking skills, such test results accurately reflect
the skills, aptitude, or whatever other factor of such applicant or employee that such test Oe

purports to measure, rather than reflecting the impaired sensory, manual, or speaking skills of
such employee or applicant (except where such skills are the factors that the test purports to

measure).
(c) Covered entities in foreign countries

(1) In general. It shall not be unlawiul under this section for a covered entity to take any

action that constitute discrimination under this section with respect to an employee in a

workplace in a foreign country if compliance with this section would cause such covered entity

to violate the law of the foreign country in which such workplace is located.

(2) Control of corporation
(A) Presumption. If an employer controls a corporation whose place of incorporation is a
foreign country, any practice that constitutes discrimination under this section and is
engaged in by such corporation shall be presumed to be engaged in by such employer.

(B) Exception. This section shall not apply with respect to the foreign operations of an
employer that is a foreign person not controlled by an American employer.

(C) Determination. For purposes of this paragraph, the determination of whether an
employer controls a corporation shall be based on

(i) the interrelation of operations;

(il) the common management;

(iii) the centralized control of labor relations; and

(iv) the common ownership or financial control of the employer and the corporation.
(d) Medical examinations and inquiries

(1) In general. The prohibition against discrimination as referred to in nsubsection (a) of this
section shall include medical examinations and inquiries.

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age 61 of 69

VIA FED EX
February 14, 2019 : i

Dear Nikki: . 2

This letter serves-as notification of Termination. Due to facing business conditions at hand; we
regret to inform you that ATI can no longer wait for your return. Therefore your employment with
ATlis terminated as of February 14, 2019.

if in future you desire and are able to do so, ATI welcomes your application to the company for
any open positions at the time of your reapplication.

ATI thanks you for your understanding, for your service over your ATI tenure, and ATI wishes you
all of the best always.

Lucienhe Mack
Human’ Resources

Ce: personnel file

AMERICANTOURS INTERNATIONAL LLC | 6053 West Century Bivd., Suite 700, Los Angeles, CA 90045
ae ae

: SOE SLC

NOTICE OF CHANGE IN STATUS

EMPLOYER’S NAME: _— AmericanTours International, LLC
EMPLOYEE’S NAME: _ Nikki Christen

EMPLOYEE’S SOCIAL SECURITY NUMBER:
(to be filled in by Employee)

EFFECTIVE DATE OF CHANGE: February 14, 2019

CHANGE IN STATUS:

[X} Employment Terminated, standard release _
for reason other than gross misconduct

11 —_s Employment Terminated, gross misconduct
involved

Layoff
Voluntary Resignation

1 Leave of Absence
Case 1:21-cv-00065-LEK-KJM Oe 7-1 Filed 04/26/21 Page 630f69 oy

GEHAGAM, iSION

fo) DE HEMT INSURANCE DIVISICT on
NOT ELON OY MENT INSURANCE NECISIC

mitts.

Ba

DECISION DATE: oai22il9
SSAN 3603 ISSUE NO: 5

NIKKI L CHRISTEN — SSAN: XXX 603

ee gener DETERMINATION CODE: ALLOW

This decision is based on available information as the employer faited to provide additional information.
wine pr oymen
ified for benefits if the individual has been

383-30(2): Nodisqualification.> A PP > ed S oY

- Section 383-30(2) Hawaii Revised Statutes provides that an individual shall be disquali i i
discharged for misconduct connected with work. The disqualification is until the individual has aubaotnen Te Ee cau
discharge occurred, been paid wages in covered employment equal to not less than five times the individual's weekly benefit amount

as determined under section 383-22(b).
Americantours International LLC as a customer liason from 08/27/18 to 02/14/19. You reported

yer felt you were not able to perform your job. The.

You were employed by
ion letter provided states the employer could

you were discharged while you were in the hospital as the emplo.
employer did not provide any additional information. However, the terminat

no longer wait for you to return to work.
Based on the available information, there is insufficient evidence to show that you were discharged for misconduct
connected with work. Therefore, no disqualification is imposed as you were discharged for reasons other than

misconduct connected with work.

T. Shodahl Decision Mailed 04/22/19

Claims Examiner

Appeal Rights: If you disagree with this decision, your deadline to request reconsideration or an appeal is 10 calendar days from the "Decision
Mailed" date above. Your request must be in writing and filed either in person at, or by postmarked mail to the HONOLULU CLAIMS OFFICE
83) PUNCHBOWL ST RM 110 HONOLULU HI 96813, or the EMPLOYMENT SECURITY APPEALS REFEREES' OFFICE (ESARQ) at 830
Punchbowl! Street, Room 429, Honolulu, Hawaii 96813, with a copy of this decision. Claimants and Employers with registered online accounts

may also file their request online at uiclaims.hawaii.gov. The appeal deadline may be extended to 30 days by an appeals officer upon a showing of

good cause,
Refer to the "Information on Unemployment Benefits Handbook" or "Handbook for Employers on Unemployment Insurance" for additional
information about filing an appeal or contacting your local unemployment office for assistance. You may also obtain additional information and
clish an online account by visiting htpc/abor hawall vow, Me
it: If you file an appeal, continue to file your weekly or bi-weekly claims as i ‘catnvaltons|

Af ye ’ Ie week as instructed. Follow the instructions b
ov or contact your lncal office if (1) You get a job and become unemployed again; (2) You are stilt Enea the end of the
) You believe that the reason for denying you benefits no longer applies. - ESO REOE aint

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HEALTH Ber wawal

R
CREATING A HEALTHIE

11/27/2018

Nikki Lee Christen
364 Seaside Ave 610 -
Honolulu Hl 96815

care and was unable to

ia 4 . ional
This is to certify that Nikki Lee Christen is under my profess'0"™
perform her usual duties on Tuesday, 11/27/2018.

She may return to work/school on 11/28/2018,

Remarks: None

Sincerely,

<<

Fay P. V. Bagarinao, MD
STRAUB CLINIC SHERATON WAIKIKI

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Christen, Nikki (MR # $913372) Page 1 of 1
Christen, Nikki (41 year old Female) :
Admission Date Patient Class MRN CSN

2419 Inpatient : 9913372 91813878
Patient Belongings

Flowsheet Row Most Recent Value
Glasses No data - - _
Contact Lens No data
Dentures/Appliances No data ©
Hearing Aids No data
Assistive Devices No data
Prosthetic Limb No data

Flectronic Devices
Clothing

Patient Meds/Inhalers
CPAP/BiPAP/Oxygen
Purse/Wallet
Credit Cards
Cash Amount
Keys

Jewelry

Body Piercings
Watch

Driver's License
Checkbook
Misc Items
Returned to Pt/Family

° KEPT BY PATIENT, /
KEPT BY PATIENT [white shirt, leggings, short, panties }
No data
No data
KEPT BY PATIENT
TO FAMILY [given to bf] __

TO FAMILY [given to bf]

No data

No data

No data —

No data

TO FAMILY [given to bf]

No data
KEPT BY PATIENT [shoes, shoulder bag }
No data

AVS Patient / Guardian Acknowledgement — , z

Patient / Surrogate Acknowledgement:

Date:

“DW

‘Staff Signature:

Date:

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PANDULA, ABHINETRI (1.D.) PagelD.o49
HONOLULU MEDICAL OFFICE

INTERNAL MEDICINE

1010 Pensacola Street

Honolulu HI 96814

808-432-2000

Patient Name: Christen, Nikki
Encounter Date & Time: 2/11/2019 2:20 PM

Please see below for this health care provider's directives and information relating to this encounter.

Work Status Report

Date onset of condition:
Next Appointment Date:

Off Work
This patient is placed off work from 2/11/2019 through 2/13/2019

This form has been electronically signed and authorized by PANDULA, ABHINETRI (M_D.)

This form contains your private health information that you may choose to release to another party,
therefore please review for accuracy.

By policy for non-work related illness/injury, Kaiser Permanente does not permit backdating of
workslips. Ifa date of onset is provided, it is based on the patient's report.

Patient Name: Nikki Christen
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PagelD.550
Sie KAISER

\ B PERMANENTE.

Nowe Christen a/17r2019

MOANALUA MEDICAL CENTER
1WEST

3988 Moanalua Moad

Honolulu Hl 96819

#08-492 0000

BOd-492-0000

An employer Issued work release slip was completed today for the patient.
The patent was unable to work 2/14/2019 to 2/17/2019.
The pationt was hospitalized during this tmoe.

She may return to werkon 2/17/2019.

c a et fo a“
=P 1
PhysictinPragifioner's Signature 2/17/2019
( Me i (/

By policy, Kaiser Permarenta DOES NOT PERMIT BACKDATING OF WORK
SLIPS.

Any further quesbons regardeng the patient's medical condition requires a sqned
Personal Health Informaton re'ease form, further clarihcation is required for
employment-relaled issues, he paben must sign the appropnata consent form,
available at any Kaiser Pormanente chive.
